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                                          #:208



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13                                                 Technology Inc.
14
                              UNITED STATES DISTRICT COURT
15
16                       CENTRAL DISTRICT OF CALIFORNIA

17                                    WESTERN DIVISION
18   VPR BRANDS, LP,                           Case No.: 2:24-cv-07009
19
                        Plaintiff,             STIPULATION OF DISMISSAL
20
21   v.                                        The Honorable Consuelo B. Marshall
22
     FLUMGIO TECHNOLOGY INC,
23
24                      Defendant.
25
            Plaintiff VPR BRANDS, LP and Defendant FLUMGIO TECHNOLOGY INC,
26
     by and through their undersigned counsel, hereby stipulate pursuant to Fed. R. Civ. P.
27
     41(a)(1)(A)(ii) to the to the entry of an order dismissing VPR BRANDS LP’s claims
28




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 1   with prejudice and dismissing FLUMGIO TECHNOLOGY INC’s counterclaims
 2   without prejudice. Each party will bear its own costs, attorneys’ fees and expenses.
 3
 4   DATED: June 09, 2025                    Respectfully submitted,
 5
 6    /s/Matthew L. Rollin                      /s/ Hongchang Deng
      MATTHEW L. ROLLIN                         Hongchang Deng (Cal. Bar No. 354529)
 7
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                                                Counsel for Defendant Flumgio
12
                                                Technology Inc
13
14
                                        ATTESTATION
15
16           Pursuant to Local Rule 5.4.3.4(2)(i), all signatories listed, and on whose behalf
     this filing is submitted, concur in the filing’s content and have authorized the filing.
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18
                                             /s/ Matthew L. Rollin
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                                             MATTHEW L. ROLLIN
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